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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO


DR. JILL STEIN, ANITA RIOS,                   )
LOGAN MARTINEZ, DEBORAH                       )
MANERA SMITH and ROBERT                       )
HANNON,                                       )
                                              )
                       Plaintiffs,            )
                                              )
                       v.                     )       Civil No.:
                                              )
FRANK LaROSE, in his official capacity        )
as Secretary of State of Ohio,                )
                                              )
                       Defendant.             )
                                              )

                      VERIFIED COMPLAINT FOR DECLARATORY
                        AND EMERGENCY INJUNCTIVE RELIEF

                                        INTRODUCTION

       1.      Plaintiffs Dr. Jill Stein and Anita Rios timely complied with all applicable

requirements under Ohio law to qualify for placement on the November 5, 2024 general election

ballot as Independent candidates for President and Vice-President of the United States,

respectively. Ohio’s Secretary of State, Defendant Frank LaRose (“the Secretary”), confirmed the

same in an August 23, 2024 press release. Ohio has already printed 2024 general election ballots

with Stein and Rios included as candidates for President and Vice-President.

       2.      Ohio’s deadline for substitution of candidates was August 12, 2024. Nevertheless,

on August 28, 2024, a representative of the Ohio Green Party (“OHGP”) – which is not ballot-

qualified and has no authority over Stein’s and Rios’s qualification for Ohio’s ballot as Independent

candidates – submitted to the Secretary without authorization a letter purporting to withdraw Rios’s

name and substitute it with Butch Ware, the Green Party’s nominee for Vice-President. The
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Secretary declined to allow the substitution but notified Stein’s campaign that because Rios

withdrew, votes cast for the Stein-Rios ticket will be void and not counted.

       3.      Rios informed the Secretary that she did not authorize or even know about the letter

requesting the withdrawal of her candidacy for Vice-President. Nonetheless, on October 1, 2024,

the Secretary advised through a staff member that “the position of our office has not changed.”

       4.      The Secretary’s reliance on an unauthorized communication as the basis for

declining to tally valid votes cast for Stein and Rios – candidates who, as the Secretary admits,

duly qualified to appear on Ohio’s general election ballot – will violate the First and Fourteenth

Amendment rights not only of Stein and Rios, but also the thousands of Ohio voters who signed

nomination petitions to qualify them for Ohio’s November 2024 general election ballot and who

wish to cast votes for them in that election, including Plaintiffs Martinez, Smith and Hannon.

       5.      Plaintiffs file this Complaint to seek redress from the Secretary’s imminent

violation of their First and Fourteenth Amendment rights. In Count I Plaintiffs assert a claim for

relief from the Secretary’s violation of their speech, associational and voting rights as guaranteed

by the First Amendment. In Count II Plaintiffs assert a claim for relief from the Secretary’s

violation of their right to equal protection of law. Plaintiffs respectfully request that the Court

declare the Secretary’s failure to tally votes cast for the Stein-Rios ticket unconstitutional and that

the Court grant preliminary injunctive relief as necessary and appropriate to prohibit the Secretary

from committing such violations.

                                 JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 42

U.S.C. § 1983 and 28 U.S.C. § 1331, because such claims arise under the First and Fourteenth

Amendments to the United States Constitution.



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       7.      Venue is proper in this Court because a substantial part of the events giving rise to

this action occurred in this district, see 28 U.S.C. §1391(b)(2), and because most Plaintiffs are

residents of the State of Ohio and Defendant is a state official who maintains an office in

Columbus, Ohio. See 28 U.S.C. § 1391(b)(1).

                                          THE PARTIES

       8.      Plaintiff Dr. Jill Stein is a candidate for President of the United States who qualified

to appear on Ohio’s November 5, 2024 general election ballot as an Independent with Anita Rios

as her running mate. Stein is also the Green Party’s 2024 nominee for President. Stein was the

Green Party’s presidential nominee in 2012 and 2016. She received 469,501 votes nationwide in

the 2012 presidential election and 1,457,216 votes nationwide in 2016. Stein wishes to campaign

for the presidency in Ohio and to speak and associate with Ohio voters who may support her

candidacy, and she is harmed by the Secretary’s announcement that votes cast for the Stein-Rios

ticket will be void and not counted.

       9.      Plaintiff Anita Rios is a candidate for Vice-President of the United States who

qualified to appear on Ohio’s November 5, 2024 general election ballot as an Independent with Dr.

Jill Stein as her running mate. Rios is a registered voter who resides in Lucas County, Ohio. Rios

wishes to campaign for the vice-presidency in Ohio and to speak and associate with Ohio voters

who may support her candidacy. She also wishes to vote for the Stein-Rios ticket and she is harmed

by the Secretary’s announcement that votes cast for the Stein-Rios ticket will be void and not

counted.

       10.     Plaintiff Logan Martinez is a registered voter who resides in Montgomery County,

Ohio. Martinez is a member of the committee designated to represent the Stein-Rios Independent

candidacy for President and Vice-President in Ohio’s November 5, 2024 general election.



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Martinez also signed a nomination petition to place Stein and Rios on Ohio’s November 5, 2024

general election ballot. He wishes to vote for the Stein-Rios ticket and to speak and associate with

Ohio voters who may support the Stein-Rios ticket, and he is harmed by the Secretary’s

announcement that votes cast for the Stein-Rios ticket will be void and not counted.

       11.     Plaintiff Deborah Manera Smith is a registered voter who resides in Lucas County,

Ohio. Smith is an elector pledged to the Stein-Rios Independent candidacy for President and Vice-

President in Ohio’s November 5, 2024 general election. Smith also signed a nomination petition

to place Stein and Rios on Ohio’s November 5, 2024 general election ballot. She wishes to vote

for the Stein-Rios ticket and to speak and associate with Ohio voters who may support the Stein-

Rios ticket, and she is harmed by the Secretary’s announcement that votes cast for the Stein-Rios

ticket will be void and not counted.

       12.     Plaintiff Robert Hannon is a registered voter who resides in Lucas County, Ohio.

Hannon is an elector pledged to the Stein-Rios Independent candidacy for President and Vice-

President in Ohio’s November 5, 2024 general election. Hannon also signed a nomination petition

to place Stein and Rios on Ohio’s November 5, 2024 general election ballot. He wishes to vote

for the Stein-Rios ticket and to speak and associate with Ohio voters who may support the Stein-

Rios ticket, and he is harmed by the Secretary’s announcement that votes cast for the Stein-Rios

ticket will be void and not counted.

       13.     Defendant Frank LaRose is Secretary of State of Ohio. LaRose is Ohio’s chief

elections officer with authority to oversee the elections process and supervise the administration

of election laws statewide. LaRose has construed and enforced the Ohio Election Code to render

votes cast for the Stein-Rios ticket void and has advised Plaintiffs that he will advise all county




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boards of elections that votes cast for Stein and Rios will not be counted. LaRose is named as a

Defendant in his official capacity only.

                                  FACTUAL ALLEGATIONS

       14.     Stein and Rios timely complied with all requirements under Ohio law to qualify for

placement on the November 5, 2024 general election ballot as Independent candidates for

President and Vice-President, respectively. See O.R.C. §§ 3513.257, 3513.261-263.

       15.     The Secretary confirmed that Stein and Rios had qualified to appear on Ohio’s 2024

general election ballot as Independent candidates for President and Vice-President, respectively,

in a press release issued on August 23, 2024. See Ohio Secretary of State Media Center, Secretary

LaRose Confirms Statewide Candidates Qualified to Appear on November 5, 2024 General

Election Ballot, August 23, 2024, available at https://www.ohiosos.gov/media-center/press-

releases/2024/2024-08-23/ (accessed October 8, 2024).

       16.     Ohio has already printed ballots for the November 5, 2024 general election that

include Stein and Rios as candidates for President and Vice-President, respectively.

       17.     On or about August 28, 2024, a GPOH member sent the Secretary a letter requesting

that Rios’s name be withdrawn as a candidate for Vice-President and that Butch Ware’s name be

substituted for Rios’s name. The GPOH member affixed Rios’s signature to the letter, but did so

without Rios’s knowledge or consent. The GPOH member took these actions because she

mistakenly believed that Rios and other Stein-Rios campaign and GPOH members authorized and

requested her to do so.

       18.     In fact, after discussing the subject, the Stein-Rios campaign and GPOH had

decided not to attempt to substitute Ware’s name for Rios’s, because the August 12, 2024 deadline

for doing so had already passed. See O.R.C. § 3513.31(F).



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        19.     On September 19, 2024, the Secretary sent a letter to Stein’s ballot access

coordinator in response to the GPOH member’s August 28, 2024 letter. See Letter: C. Burnett to

R. Lass, September 19, 2024 (attached as Exhibit A). The letter advised as follows: (1) Rios had

withdrawn as Stein’s Vice-Presidential candidate; (2) the deadline for a candidate to withdraw and

not appear on the November 5, 2024 ballot was August 27, 2024; (3) the deadline for substituting

candidates was August 12, 2024; and (4) as a result, Rios and Stein would remain on Ohio’s 2024

general election ballot, but votes cast for them “will be void and not counted.” See Ex. A.

        20.     The Secretary cited O.R.C. §§ 3513.257, 3513.30(E) and 3513.31(F) as authority

for that decision.

        21.     The Secretary also advised that he was “required” by O.R.C. § 3513.30(E) to notify

all boards of election that votes cast for Stein and Rios “will be void and not counted.” See Ex. A.

        22.     The day after notifying Plaintiffs of this decision, the Secretary issued a press

release announcing that Ohio’s 2024 general election was “officially underway”. See Ohio

Secretary of State Media Center, Ohio’s 2024 General Election Officially Underway as Military

And Overseas Voting Begins, September 20, 2024, available at https://www.ohiosos.gov/media-

center/press-releases/2024/2024-09-20/ (accessed October 9, 2024).

        23.     On September 27, 2024, Rios sent the Secretary’s office a notarized affidavit

swearing that she had not authorized anyone to submit a request to withdraw her candidacy for

Vice-President in Ohio’s 2024 general election.

        24.     On October 1, 2024, the Secretary’s office responded that the affidavit – although

notarized – had not been notarized properly.




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       25.     On the same day, in a separate communication to Stein-Ware Campaign Manager

Jason Call, the Secretary’s office advised that it was “investigating the August 28 letter” mistakenly

sent by the GPOH member, but that “the position of our office has not changed.”

       26.     On October 2, 2024, Rios sent the Secretary’s office via overnight mail another

affidavit, properly notarized, in which she swore the following:

       I, Anita Rios, am the Vice-Presidential candidate on the Ohio ballot with Jill Stein as the
       Presidential candidate, for the November 2024 general election. I have at no time given
       prior authorization to anyone to present for filing a letter to the Ohio Secretary of State
       asking that my name be removed from the ballot, as the Vice Presidential candidate with
       Jill Stein as the Presidential candidate, for the 2024 election.

       27.     On October 3, 2024, the Secretary’s office wrote to Rios to thank her for sending

her affidavit and stating that the Secretary’s office was “planning to speak to a prosecutor about

this (sic) allegations against” the GPOH member who mistakenly submitted the August 28, 2024

letter requesting Rios’s withdrawal and substitution for Ware.

       28.     Rios responded the same day that she found the response of the Secretary’s office

to be “disturbing and misguided.” Further, Rios continued:

       I am not making any allegations against [the GPOH member], who was clearly confused,
       but against the office of the Secretary of State for its failure to follow standard protocol in
       accepting a letter from me which you knew did not have my signature.

       The harm that the Secretary of State’s office has done to me, and to Ohio voters, can be
       easily undone by simply counting the votes that Ohio voters cast for me and Jill Stein. I am
       waiting to hear that this has been remedied.

       29.     The Secretary’s office did not respond to Rios and Plaintiffs have had no further

communication with the Secretary’s office since October 3, 2024, except that on October 7, 2024,

Plaintiffs advised the Secretary, through counsel, that Plaintiffs would soon file suit against the

Secretary in federal court.

                                   INJURY TO PLAINTIFFS



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       30.     The Secretary’s decision to treat votes cast for the Stein-Rios ticket as void, and not

to count them, has been widely reported. Further, the Secretary has notified or imminently will

notify all county boards of election of that decision, and the county boards will notify voters prior

to and on election day at polling locations. As a result, the Secretary has functionally terminated

the Stein-Rios candidacy. Voters are exceedingly unlikely to cast their votes for Stein and Rios if

they know those votes will be void and not counted. That is a severe burden on Plaintiffs’ speech

and associational rights.

       31.     The Secretary’s decision also severely burdens Plaintiffs’ voting rights. Plaintiffs’

preferred candidates – Stein and Rios – have duly qualified to appear on Ohio’s November 5, 2024

general election ballot, and they do in fact appear on that ballot, but if Plaintiffs vote for them,

their votes will be void and not counted. Plaintiffs will be forced either to forego the opportunity

to vote for the presidential ticket of their choice, or to be disenfranchised.

       32.     At the same time, many Ohio voters may be unaware of the Secretary’s decision to

treat votes cast for Stein and Rios as void and not count them. After all, the Stein-Rios ticket will

be listed on their ballots just like every other presidential ticket. But if any such voters cast their

votes for Stein and Rios, they too will be disenfranchised.

       33.     The Secretary’s unequal treatment of votes cast for the Stein-Rios ticket will also

violate Plaintiffs’ right to equal protection. Stein and Rios duly qualified to appear on Ohio’s

November 5, 2024 general election ballot. They do in fact appear on that ballot. Yet the Secretary

insists that votes cast for them must be treated as void and not counted. Such unequal treatment

of votes cast for qualified candidates furthers no legitimate state interest. Further, the Secretary

has severely disadvantaged the Stein-Rios ticket, relative to other qualified candidacies, by

announcing that votes cast for the Stein-Rios ticket will be void and not counted.



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        34.      The Secretary’s decision to credit an unauthorized request to withdraw Rios’s

candidacy, and his refusal to count votes cast for the Stein-Rios ticket, are insupportable given that

the Secretary has a sworn statement from Rios swearing that the request was made without her

knowledge or consent.

        35.      The Secretary’s refusal to count votes cast for the Stein-Rios ticket furthers no

legitimate state interest, because the Secretary concedes that Stein and Rios timely complied with

all applicable requirements of Ohio law and duly qualified to appear on Ohio’s November 5, 2024

general election ballot as Independent candidates for President and Vice-President, respectively –

indeed, Stein and Rios are included on that ballot – and because the Secretary has actual notice

that Rios did not authorize any request to withdraw her candidacy.

                                          COUNT I
   (Violation of Plaintiffs’ Rights Guaranteed by the First and Fourteenth Amendments)

        36.      Plaintiffs reassert each preceding allegation as if set forth fully herein.

        37.      The Secretary’s decision pursuant to O.R.C. §§ 3513.257, 3513.30(E) and

3513.31(F) to treat votes cast for the Stein-Rios ticket as void and not to count them severely

burdens Plaintiffs’ speech, associational and voting rights as guaranteed by the First and Fourteenth

Amendments.

        38.      No legitimate or compelling state interest justifies the burdens imposed on

Plaintiffs’ rights.

        39.      The Secretary’s enforcement of O.R.C. §§ 3513.257, 3513.30(E) and 3513.31(F)

as applied causes injury to and violates rights guaranteed to Plaintiffs by the First and Fourteenth

Amendments.

                                            COUNT II
          (Violation of Plaintiffs’ Rights Guaranteed by the Equal Protection Clause)



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       40.    Plaintiffs reassert each preceding allegation as if set forth fully herein.

       41.    The Secretary’s unequal treatment of votes cast for the Stein-Rios ticket pursuant

to O.R.C. §§ 3513.257, 3513.30(E) and 3513.31(F) causes injury to and violates rights guaranteed

to Plaintiffs by the Equal Protection Clause of the Fourteenth Amendment.

                                    PRAYER FOR RELIEF

       42.    WHEREFORE, Plaintiffs respectfully request that the Court:

              A. Enter a declaratory judgment holding that the Secretary’s enforcement of
                 O.R.C. §§ 3513.257, 3513.30(E) and 3513.31(F) is unconstitutional as applied;

              B. Enter orders preliminarily and permanently enjoining the Secretary from
                 enforcing the foregoing provisions as applied to Plaintiffs, and preliminarily
                 and permanently enjoining the Secretary from failing to treat votes cast for the
                 Stein-Rios ticket as valid or to count such votes;

              C. Enter an order preliminarily and permanently enjoining the Secretary from
                 notifying county boards of elections that votes cast for the Stein-Rios ticket will
                 be void and not counted;

              D. Award other and further relief as the Court deems proper;

              E. Award attorney’s fees and litigation costs pursuant to 42 U.S.C. § 1988;

              F. Retain jurisdiction over this action and grant Plaintiffs any further relief which
                 may in the discretion of the Court be necessary and proper.

Dated: October 9, 2024                                Respectfully submitted,

                                                      /s/Mark R. Brown
                                                      Mark R. Brown (KBA # 081941)*
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                                                      Oliver Hall
                                                      (Pro Hac Vice Pending)
                                                      CENTER FOR COMPETITIVE DEMOCRACY

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                                       VERIFICATIONS
                                (pursuant to 28 U.S.C. § 1746)
       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Executed on: October 9, 2024
                                                    Dr. Jill Stein


       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Executed on: October 9, 2024
                                                    Anita Rios


       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Executed on: October 9, 2024
                                                    Logan Martinez



       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Executed on: October 9, 2024
                                                    Deborah Manera Smith



       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Executed on: October 9, 2024
                                                    Robert Hannon
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 9, 2024 the foregoing document was filed using the Court’s

CM/ECF system and served upon Defendant Frank LaRose by email to the Ohio Attorney

General’s   Office,   c/o   Julie   Pfeiffer,   Section      Chief,   Constitutional   Offices,   at

Julie.Pfeiffer@OhioAGO.gov. I also certify that Ms. Pfeiffer agreed to accept such service on

Defendant’s behalf.


                                     /s/Mark R. Brown
                                     Mark. R. Brown
                                     Counsel to Plaintiffs
